                Case 2:23-bk-13674-NB                   Doc 1 Filed 06/13/23 Entered 06/13/23 14:10:05                                     Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Spectrum Medical Management Services, Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  425 W Bonita Avenue, Suite 110
                                  San Dimas, CA 91773
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  425 W Bonita Avenue, Suite 110 San Dimas, CA
                                                                                                  91773
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://spectrummedicalmanagement.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Spectrum Medical Management Services, Inc                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Spectrum Medical Management Services, Inc                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Spectrum Medical Management Services, Inc                                  Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Spectrum Medical Management Services, Inc                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 6, 2023
                                                  MM / DD / YYYY


                             X   /s/ Carla A Ethier                                                       Carla A Ethier
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Director




18. Signature of attorney    X   /s/ Charles W Daff                                                        Date June 6, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Charles W Daff 76178
                                 Printed name

                                 Charles W Daff
                                 Firm name

                                 2107 N Broadway
                                 Suite 308
                                 Santa Ana, CA 92706
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      657-218-4800                 Email address      charleswdaff@gmail.com

                                 76178 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Spectrum Medical Management Services, Inc

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 6, 2023                    X /s/ Carla A Ethier
                                                           Signature of individual signing on behalf of debtor

                                                            Carla A Ethier
                                                            Printed name

                                                            Director
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
none

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
none

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
none

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
none


I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at      San Dimas                                         , California.                     /s/ Carla A Ethier
                                                                                                     Carla A Ethier
Date:            June 6, 2023                                                                        Signature of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
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 Fill in this information to identify the case:

 Debtor name            Spectrum Medical Management Services, Inc

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           395,686.67

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           395,686.67


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           676,062.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            95,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           551,482.14


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,322,544.14




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Spectrum Medical Management Services, Inc

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   California Bank & Trust, Irvine Branch,
                   1900 St., Suite 100, Irvine, CA 92614             Business Growth
          3.1.     Acct ending 8152                                  Checking                              8152                                       $991.00


                   California Bank & Trust, Irvine Branch,
                   1900 St., Suite 100, Irvine, CA 92614
          3.2.     Acct ending 5586                                  General Account                       5586                                  $127,000.00


                   California Bank & Trust, Irvine Branch,
                   1900 St., Suite 100, Irvine, CA 92614
          3.3.     Acct ending 5578                                  Payroll Account                       5578                                       $802.17



                   Wells Fargo Bank General Business
          3.4.     Account                                           Checking                              7764                                       $481.50



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $129,274.67
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       Spectrum Medical Management Services, Inc                                      Case number (If known)
             Name


      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                  110,000.00        -                                   0.00 = ....                $110,000.00
                                      face amount                             doubtful or uncollectible accounts




          11b. Over 90 days old:                     149,410.00        -                                  0.00 =....                  $149,410.00
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                        $259,410.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used   Current value of
                                                                           debtor's interest         for current value       debtor's interest
                                                                           (Where available)

39.       Office furniture




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 2
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              Name

           (10) small file tables, (8) office chairs plus (2)
           stackable for total 10 chairs; (8) desks with
           overhead storage units, (2) printers, (1) fax
           machine, (1) (8) telephone handsets and
           telephone system, (6) file cabinets and (7)
           computers with monitors. - located at 425 W
           Bonita Ave., Suite 110, San Dimas, CA 9173                                      $0.00     Replacement                        $5,000.00


           Toshiba copier, -- located at 425 W Bonita
           Ave., Suite 110, San Dimas, CA 9173                                             $0.00     Replacement                        $1,000.00


           office equipment, copy machine, desks,
           chairs, computers, fixtures and machinery
           located at business premises 1755 W Hammer
           Lane, Suite 7B, Stockton, CA 95209.                                             $0.00     Replacement                        $1,000.00



40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software

42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                             $7,000.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor        Spectrum Medical Management Services, Inc                                    Case number (If known)
              Name



60.        Patents, copyrights, trademarks, and trade secrets
           Cal Med computer software to provide system
           to medical billing - leased with monthly
           subscription payment -
            located at 425 W Bonita Ave., Suite 110, San
           Dimas, CA 9173                                                                $0.00                                              $1.00



61.        Internet domain names and websites
           https://spectrummedicalmanagement.com/                                        $0.00                                              $1.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $2.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
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Debtor          Spectrum Medical Management Services, Inc                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $129,274.67

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $259,410.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $7,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $2.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $395,686.67           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $395,686.67




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
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Fill in this information to identify the case:

Debtor name         Spectrum Medical Management Services, Inc

United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   California Bank & Trust                      Describe debtor's property that is subject to a lien                 $127,483.00                  Unknown
      Creditor's Name                              all inventory, equipment, accounts, money,
                                                   fixtures, money - blanket security interest
      1900 Main Street, Suite 100
      Irvine, CA 92614
      Creditor's mailing address                   Describe the lien
                                                   Non-Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      07/30/2018                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9003
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   CSC                                          Describe debtor's property that is subject to a lien                          $0.00                    $0.00
      Creditor's Name

      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      10/27/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
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Debtor      Spectrum Medical Management Services, Inc                                             Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   OnDeck                                      Describe debtor's property that is subject to a lien                     $149,410.00    Unknown
      Creditor's Name                             all inventory, equipment, accounts, money,
      4700 W Day Break                            fixtures, money - blanket security interest
      Parkway, Suite 200
       UT 84009
      Creditor's mailing address                  Describe the lien
                                                  Non-Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/26/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Small Business
2.4                                                                                                                        $399,169.00    Unknown
      Administration                              Describe debtor's property that is subject to a lien
      Creditor's Name                             all inventory, equipment, accounts, money,
                                                  fixtures, money - blanket security interest
      PO Box 3918
      Portland, OR 97208-3918
      Creditor's mailing address                  Describe the lien
                                                  Non-Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      08/20/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1630
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Toshiba America Business
2.5                                                                                                                              $0.00    $1,000.00
      Solutions                                   Describe debtor's property that is subject to a lien
      Creditor's Name                             Toshiba copier, -- located at 425 W Bonita
                                                  Ave., Suite 110, San Dimas, CA 9173
      25530 Commercentre Drive
      Lake Forest, CA 92630
      Creditor's mailing address                  Describe the lien




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 2 of 4
             Case 2:23-bk-13674-NB                         Doc 1 Filed 06/13/23 Entered 06/13/23 14:10:05                                         Desc
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Debtor       Spectrum Medical Management Services, Inc                                             Case number (if known)
             Name

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.6    US Bank Equipment Lease                     Describe debtor's property that is subject to a lien                           $0.00              Unknown
       Creditor's Name                             copier located at 1755 W Hammer Lane, Suite
                                                   7B, Stockton, CA 95209
       PO Box 790408
       Saint Louis, MO 63179-0408
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $676,062.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Acension Point Recovery Services
        200 Coon Rapids Blvd., Suite 210                                                                     Line   2.3                               5155
        Minneapolis, MN 55433-5876

        California Bank & Trust
        1900 Main Street, Suite 100                                                                          Line   2.1
        Irvine, CA 92614

        Small Business Administration
        14925 Kingsport Road                                                                                 Line   2.4
        Fort Worth, TX 76155-2243




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 4
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Debtor    Spectrum Medical Management Services, Inc                        Case number (if known)
          Name

      Small Business Administration
      1545 Hawkins Blvd., Suite 202                                                Line   2.4
      El Paso, TX 79925




Official Form 206D      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property      page 4 of 4
             Case 2:23-bk-13674-NB                       Doc 1 Filed 06/13/23 Entered 06/13/23 14:10:05                                                Desc
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Fill in this information to identify the case:

Debtor name        Spectrum Medical Management Services, Inc

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Amber Turgeon                                       Check all that apply.
          16275 Adelia St                                        Contingent
          Hesperia, CA 92345                                     Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              notice
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Amy Basalusalu                                      Check all that apply.
          8503 MacDuff Ct                                        Contingent
          Stockton, CA 95209                                     Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              notice
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 16
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Debtor      Spectrum Medical Management Services, Inc                                                Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Angela Rose                                        Check all that apply.
         414 Don Carlos Ave                                    Contingent
         Stockton, CA 95210                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Carla A Ethier                                     Check all that apply.
         15089 Indian Drive                                    Contingent
         Fontana, CA 92336                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Chara Barksdale                                    Check all that apply.
         4304 Freitag Way                                      Contingent
         Elk Grove, CA 95758                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Cheryl Lodin                                       Check all that apply.
         2578 Associated Rd., Apt 3                            Contingent
         Fullerton, CA 92835                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 2 of 16
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Debtor      Spectrum Medical Management Services, Inc                                                Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Cody M Labelle                                     Check all that apply.
         2578 Associated Rd., Apt 3                            Contingent
         Fullerton, CA 92835                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         D'Wayne Baird                                      Check all that apply.
         8543 Burns Place                                      Contingent
         Stockton, CA 95209                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Dallas Turgeon                                     Check all that apply.
         16275 Adelia St                                       Contingent
         Hesperia, CA 92345                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Debra A Alamillo                                   Check all that apply.
         3902 Poli Place                                       Contingent
         Modesto, CA 95355                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 3 of 16
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Debtor      Spectrum Medical Management Services, Inc                                                Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Dena K Agapay                                      Check all that apply.
         8255 Vineyard Ave #1500F                              Contingent
         Rancho Cucamonga, CA 91701                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Donald Swearingen                                  Check all that apply.
         9943 Orchard Dr                                       Contingent
         Westminster, CA 92683                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Franchise Tax Board                                Check all that apply.
         Business Entity Bankruptcy MS                         Contingent
         A345                                                  Unliquidated
         PO Box 2952                                           Disputed
         Sacramento, CA 95812-2952
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Heather Horton                                     Check all that apply.
         610 Manahan Ct                                        Contingent
         Red Bluff, CA 96080                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 4 of 16
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Debtor      Spectrum Medical Management Services, Inc                                                Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $95,000.00    $0.00
         Internal Revenue Service                           Check all that apply.
         Centralized Insolvency Operation                      Contingent
         PO Box 7346                                           Unliquidated
         Philadelphia, PA 19101-7346                           Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            941 taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $0.00    $0.00
         Irma Chavarria                                     Check all that apply.
         1605 S Barolo Place                                   Contingent
         Santa Maria, CA 93458                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $0.00    $0.00
         Joanna Ortiz-Nunez                                 Check all that apply.
         2968 Grand Oak St                                     Contingent
         Stockton, CA 95208                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $0.00    $0.00
         Jose E Garcia                                      Check all that apply.
         3581 W Ben Holt Dr., Apt 146                          Contingent
         Stockton, CA 95219                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 5 of 16
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Debtor      Spectrum Medical Management Services, Inc                                                Case number (if known)
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Joy Baird                                          Check all that apply.
         8543 Burns Place                                      Contingent
         Stockton, CA 95209                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Kayleen Mello                                      Check all that apply.
         1719 Chateau Dr                                       Contingent
         Olivehurst, CA 95961                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Kimberly Burkhart                                  Check all that apply.
         2175 Inman Ave                                        Contingent
         Stockton, CA 95204                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Kylle Barefoot                                     Check all that apply.
         8255 Vineyard Avd., Apt 1500B                         Contingent
         Rancho Cucamonga, CA 91701                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 6 of 16
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Debtor      Spectrum Medical Management Services, Inc                                                Case number (if known)
            Name

2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Lucile Manzo Ramirez                               Check all that apply.
         1559 E 43rd Street                                    Contingent
         Los Angeles, CA 90011                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Maria Garcia                                       Check all that apply.
         782 La Honda Ct                                       Contingent
         Salinas, CA 93905                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Michelle R Turgeon                                 Check all that apply.
         18223 Betony Place                                    Contingent
         San Bernardino, CA 92407                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Nora Vasquez                                       Check all that apply.
         120 Severin Ave                                       Contingent
         Modesto, CA 95354                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Quy T Nguyen                                       Check all that apply.
         9943 Orchard Dr                                       Contingent
         Westminster, CA 92683                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Rose A Orenday                                     Check all that apply.
         206 E 5th St.                                         Contingent
         San Dimas, CA 91773                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Rosemary Sanchez                                   Check all that apply.
         PO Box 10905                                          Contingent
         Earlimart, CA 93219                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00    $0.00
         Taiya Turgeon                                      Check all that apply.
         18223 Betony Place                                    Contingent
         San Bernardino, CA 92407                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            notice
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.31       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
           Tracy A White                                        Check all that apply.
           8255 Vineyard Ave., Apt. 1500B                          Contingent
           Rancho Cucamonga, CA 91730                              Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                notice
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.32       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
           Vanessa Z Giordani                                   Check all that apply.
           1799 Thurber Place                                      Contingent
           Burbank, CA 91501                                       Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                notice
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.33       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
           Veronica Allen                                       Check all that apply.
           5057 Brentford Way                                      Contingent
           El Dorado Hills, CA 95762                               Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                notice
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Alicia Rozario DPM                                                      Contingent
          305 South Drive #6                                                      Unliquidated
          Mountain View, CA 94040                                                 Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:     notice-doctor
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $13,816.00
          American Express                                                        Contingent
          Correspondence/Bankruptcy                                               Unliquidated
          PO Box 981540                                                           Disputed
          El Paso, TX 79998
                                                                              Basis for the claim:     Business Management Account
          Date(s) debt was incurred
          Last 4 digits of account number     1007                            Is the claim subject to offset?     No       Yes



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3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $2,100.00
         American Express                                             Contingent
         Correspondence/Bankruptcy                                    Unliquidated
         PO Box 981540                                                Disputed
         El Paso, TX 79998
                                                                   Basis for the claim:    Executive Business Card
         Date(s) debt was incurred
         Last 4 digits of account number   1002                    Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Aziz Rasooli                                                 Contingent
         16311 Ventura Blvd #1150                                     Unliquidated
         Encino, CA 91436                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Blake Shaw MD                                                Contingent
         890 Eastlake Pkwy                                            Unliquidated
         Chula Vista, CA 91914                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Blue Shield of California                                    Contingent
         Subscription & Membership                                    Unliquidated
         PO Box 629032                                                Disputed
         El Dorado Hills, CA 95762-9032
                                                                   Basis for the claim:    notice- employee health insurance plan
         Date(s) debt was incurred
         Last 4 digits of account number   1000                    Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $8,860.00
         Capital One / Spark Business                                 Contingent
         Attn: Bankruptcy                                             Unliquidated
         Po Box 30285                                                 Disputed
         Salt Lake City, UT 84130
                                                                   Basis for the claim:    Spark Miles credit card
         Date(s) debt was incurred
         Last 4 digits of account number   3672                    Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $18,609.00
         Capital One/ Venture                                         Contingent
         Attn: Bankruptcy                                             Unliquidated
         Po Box 30285                                                 Disputed
         Salt Lake City, UT 84130
                                                                   Basis for the claim:    Venture Credit Card
         Date(s) debt was incurred
         Last 4 digits of account number   2461                    Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $300,000.00
         Carol Swearingen                                             Contingent
         16680 Compass Circle                                         Unliquidated
         Yorba Linda, CA 92886                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    promissory notes due
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Carol Swearingen                                             Contingent
         16680 Compass Circle                                         Unliquidated
         Yorba Linda, CA 92886                                        Disputed
         Date(s) debt was incurred
                                                                                   landlord for business premises located at 425 W
                                                                   Basis for the claim:
         Last 4 digits of account number                           Bonita Ave., Suite 110, San Dimas, CA 91773 -- notice
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Charles Crapotta MD                                          Contingent
         773 Isabella Way                                             Unliquidated
         Fairfield, CA 94533                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $64,303.00
         Chase Marriott                                               Contingent
         PO Box 6294                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Marriott Bonvoy Credit Card
         Last 4 digits of account number   5073
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $35,512.50
         Citibank
         Citicorp Credit                                              Contingent
         Centralized BK Department                                    Unliquidated
         PO Box 70034                                                 Disputed
         Saint Louis, MO 63179
                                                                   Basis for the claim:    Citi Business Mastercard
         Date(s) debt was incurred
         Last 4 digits of account number   6041                    Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      Unknown
         Coast to Coast DME Inc                                       Contingent
         1755 W Hammer Ave., Suite 2                                  Unliquidated
         Stockton, CA 95209                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice - this company is in bankruptcy proceeding
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Craig Roberts DPM                                            Contingent
         2678 E Florence Ave                                          Unliquidated
         Huntington Park, CA 90255                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         David A Swearingen, OD                                       Contingent
         425 W Bonita Ave.                                            Unliquidated
         San Dimas, CA 91773                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Dennis Grandy DPM                                            Contingent
         87 Scripts Dr #212                                           Unliquidated
         Sacramento, CA 95825                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Donnelly Accounting Inc                                      Contingent
         425 Bonita Ave., Suite 109                                   Unliquidated
         San Dimas, CA 91773                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    accountant for debtor - notice
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Douglas Hague DPM                                            Contingent
         5 Medical Plaza Dr., #110                                    Unliquidated
         Roseville, CA 95661                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         EMU Properties LLC                                           Contingent
         113 Main Street                                              Unliquidated
         Rio Vista, CA 94571                                          Disputed
         Date(s) debt was incurred
                                                                                   landlord for business premises at 1755 W Hammer
                                                                   Basis for the claim:
         Last 4 digits of account number                           Lane, Suite 7B, Stockton, CA 95209 - notice
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $14,000.00
         Fred Jackson                                                 Contingent
         Omni Medical Management Services In                          Unliquidated
         8145 S Vandriver Way                                         Disputed
         Aurora, CO 80016
                                                                   Basis for the claim:    promissory note for services rendered
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Glenn Kishaba                                                Contingent
         Physicians Services Network                                  Unliquidated
         377 East Chapman Ave                                         Disputed
         Placentia, CA 92870
                                                                   Basis for the claim:    notice - doctor
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Hoan Van DPM                                                 Contingent
         100 Oconnor Dr Ste 9A                                        Unliquidated
         San Jose, CA 95128                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Igal Palma DPM                                               Contingent
         221 E 8h St                                                  Unliquidated
         Stockton, CA 95206                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Janelle T Green DPM                                          Contingent
         795 E Second St., Suite 7                                    Unliquidated
         Pomona, CA 91766                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Ji Hee Kim DPM                                               Contingent
         333 W El Camino Real, Ste 315                                Unliquidated
         Sunnyvale, CA 94087                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Jonathan Tiongson                                            Contingent
         11633 San Vicente Blvd #200                                  Unliquidated
         Los Angeles, CA 90049                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Karen Romines DPM                                            Contingent
         9121 Folsom Blvd #G                                          Unliquidated
         Sacramento, CA 95826                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Kelvin Nguyen                                                Contingent
         210 N Garfield Ave                                           Unliquidated
         Monterey Park, CA 91755                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Leo Kan                                                      Contingent
         425 W Bonita Ave., #103                                      Unliquidated
         San Dimas, CA 91773                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Lisa Banks DPM                                               Contingent
         9390 Hesperia Rd., Suite 7                                   Unliquidated
         Hesperia, CA 92345                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Lori Birndorf MD                                             Contingent
         12139 Riverside Dr                                           Unliquidated
         Valley Village, CA 91607                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Luke Won DPM                                                 Contingent
         520 N Main St, Ste 120                                       Unliquidated
         Santa Ana, CA 92701                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Mark Johnson DPM                                             Contingent
         425 W Bonita Ave, Suite 110                                  Unliquidated
         San Dimas, CA 91773                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Neal Patel DPM                                               Contingent
         250 N robertson Blvd., #106                                  Unliquidated
         Beverly Hills, CA 90211                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Patrick Jadali DPM                                           Contingent
         304 Cherry Ave                                               Unliquidated
         Long Beach, CA 90802                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Rebecca M Akolo DPM                                          Contingent
         1755 W Hammer Lane, Suite 7B                                 Unliquidated
         Stockton, CA 95209                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    notice-doctor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.38      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Rende Roberto MD                                                     Contingent
          1000 W Carson St. #27                                                Unliquidated
          Torrance, CA 90502                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    notice-doctor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.39      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Sandeep Patel DPM                                                    Contingent
          508 This Way                                                         Unliquidated
          Lake Jackson, TX 77566                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    notice-doctor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.40      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Seiha Thorng DPM                                                     Contingent
          420 Acacia St #18                                                    Unliquidated
          Stockton, CA 95203                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    notice-doctor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.41      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $94,281.64
          Wells Fargo SBL                                                      Contingent
          PO Box 29482                                                         Unliquidated
          Phoenix, AZ 85038                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    business line of credit
          Last 4 digits of account number   1134
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       American Express
          PO Box 960001                                                                             Line     3.2
          Los Angeles, CA 90096
                                                                                                           Not listed. Explain

4.2       American Express
          Correspondence/Bankruptcy                                                                 Line     3.2
          PO Box 981540
                                                                                                           Not listed. Explain
          El Paso, TX 79998

4.3       American Express
          Correspondence/Bankruptcy                                                                 Line     3.3
          PO Box 981540
                                                                                                           Not listed. Explain
          El Paso, TX 79998

4.4       American Express
          PO Box 960001                                                                             Line     3.3
          Los Angeles, CA 90096
                                                                                                           Not listed. Explain




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 16
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Debtor      Spectrum Medical Management Services, Inc                                   Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.5       Capital One
          Attn: Bankruptcy                                                             Line     3.8
          Po Box 30285
                                                                                              Not listed. Explain
          Salt Lake City, UT 84130

4.6       Capital One
          Attn: Bankruptcy                                                             Line     3.7
          Po Box 30285
                                                                                              Not listed. Explain
          Salt Lake City, UT 84130

4.7       Card Member Service
          PO Box 6294                                                                  Line     3.12
          Carol Stream, IL 60197
                                                                                              Not listed. Explain

4.8       Chase Card Services
          Attn: Bankruptcy                                                             Line     3.12
          Po Box 15298
                                                                                              Not listed. Explain
          Wilmington, DE 19850

4.9       Christopher Otiko
          Coast to Coast DME, Inc                                                      Line     3.14
          7320 Reseda Blvd., Unit 37-1972
                                                                                              Not listed. Explain
          Reseda, CA 91337

4.10      Citibank
          PO Box 6235                                                                  Line     3.13
          Sioux Falls, SD 57117
                                                                                              Not listed. Explain

4.11      Craig Roberts
          5301 Balboa Blvd., Suite L3                                                  Line     3.15
          Encino, CA 91316
                                                                                              Not listed. Explain

4.12      Leo Kan
          1886 Greensage Ave                                                           Line     3.30
          Fresno, CA 93730
                                                                                              Not listed. Explain

4.13      Lisa Banks DPM
          PO Box 9397                                                                  Line     3.31
          Fresno, CA 93792
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                     95,000.00
5b. Total claims from Part 2                                                              5b.    +     $                    551,482.14

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                      646,482.14




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 16 of 16
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                                                     Main Document    Page 37 of 68
Fill in this information to identify the case:

Debtor name       Spectrum Medical Management Services, Inc

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Month to Month
           lease is for and the nature of        Tenancy for debtor's
           the debtor's interest                 business premises
                                                 located at 425 W Bonita
                                                 Ave., Suite 110, San
                                                 Dimas, CA 91773
               State the term remaining
                                                                                    Carol Swearingen
           List the contract number of any                                          16680 Compass Circle
                 government contract                                                Yorba Linda, CA 92886


2.2.       State what the contract or            lease for debtor's
           lease is for and the nature of        business premises
           the debtor's interest                 located at 1755 W
                                                 Hammer Lane, Suite
                                                 7B, Stockton, CA 95209
               State the term remaining
                                                                                    EMU Properties LLC
           List the contract number of any                                          113 Main Street
                 government contract                                                Rio Vista, CA 94571




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Spectrum Medical Management Services, Inc

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Donald                      9943 Orchard Dr                                           California Bank &                  D   2.1
          Swearingen                  Westminster, CA 92683                                     Trust                              E/F
                                      deceased December 2022
                                                                                                                                   G




   2.2    Donald                      9943 Orchard Dr                                           OnDeck                             D   2.3
          Swearingen                  Westminster, CA 92683                                                                        E/F
                                      deceased December 2022
                                                                                                                                   G




   2.3    Donald                      9943 Orchard Dr                                           Wells Fargo SBL                    D
          Swearingen                  Westminster, CA 92683                                                                        E/F       3.41
                                      deceased December 2022
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Spectrum Medical Management Services, Inc

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $1,094,023.03
      From 1/01/2023 to Filing Date                                                                Operating a Business
                                                                                          Other    thru 05/19/2023


      For prior year:                                                                     Operating a business                             $2,969,573.39
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $2,859,934.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor      Spectrum Medical Management Services, Inc                                           Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




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Debtor        Spectrum Medical Management Services, Inc                                           Case number (if known)



      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Charles W Daff
               2107 N Broadway                           Attorney Flat Fee of $ $9662.00 plus cost
               Suite 308                                 to file of $338.00 for total of $10,000. Paid
               Santa Ana, CA 92706                       by debtor                                                     05/12/2023                $10,000.00

               Email or website address
               charleswdaff@gmail.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value
      13.1                                             Coast to Coast DME Inc., 1755 W Hammer
      .                                                Lane, Suite 2, Stockton, CA 95209
                                                       received funds from the OnDeck Loan. on
              Coast to Coast DME Inc                   10/26/22. Officer/Director for Coast to
              1755 W Hammer Ave., Suite 2              Coast, Christopher Otiko, 7320 Reseda
              Stockton, CA 95209                       Blvd., Unit 37-1972, Reseda, CA 91337                      10/26/2022                   $149,410.00

              Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

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Debtor      Spectrum Medical Management Services, Inc                                            Case number (if known)




          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Patient name, birth date, medicare number, address used for billing
                 with use of Cal Med software - cloud based software -HIPPA
                 PROTECTED
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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Debtor      Spectrum Medical Management Services, Inc                                            Case number (if known)




         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      San Dimas Storage                                      Carla A Ethier                        financial records. invoices,                   No
      409 W Allen Ave.                                       15089 Indian Dr                       written documents from past                    Yes
      San Dimas, CA 91773                                    Fontana, CA 92336                     years doing business- HIPPA
                                                                                                   PROTECTED RECORDS -
                                                                                                   storage unit in name of Carla
                                                                                                   Ethiers



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?


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Debtor      Spectrum Medical Management Services, Inc                                           Case number (if known)




           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Donnelly Accounting Inc                                                                                            prepares tax returns
                    425 W Bonita Ave., Suite 109                                                                                       for the debtor
                    San Dimas, CA 91773

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




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Debtor      Spectrum Medical Management Services, Inc                                          Case number (if known)



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Carla A Ethier                         15089 Indian Dr                                     Director/Secretary                      0.00
                                             Fontana, CA 92336

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      D'Wayne Baird                          8543 Burns Place                                    Vice President                          0.00
                                             Stockton, CA 95209

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Carol Swearingen                       16680 Compass Circle                                Sole Shareholder of Stock               100
                                             Yorba Linda, CA 92886



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Donald Swearingen                      9943 Orchard Dr                                     President / Shareholder -
                                             Westminster, CA 92683                               Deceased December
                                                                                                 2022
                                                                                                 100 % shareholder

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Debtor      Spectrum Medical Management Services, Inc                                           Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 6, 2023

/s/ Carla A Ethier                                              Carla A Ethier
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Director

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Central District of California
 In re       Spectrum Medical Management Services, Inc                                                        Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     9,662.00
             Prior to the filing of this statement I have received                                        $                     9,662.00
             Balance Due                                                                                  $                        0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 none

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 6, 2023                                                             /s/ Charles W Daff
     Date                                                                     Charles W Daff 76178
                                                                              Signature of Attorney
                                                                              Charles W Daff
                                                                              2107 N Broadway
                                                                              Suite 308
                                                                              Santa Ana, CA 92706
                                                                              657-218-4800 Fax: 657-218-4858
                                                                              charleswdaff@gmail.com
                                                                              Name of law firm
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          Case 2:23-bk-13674-NB                     Doc 1 Filed 06/13/23 Entered 06/13/23 14:10:05                                                    Desc
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Attorney or Party Name, Address, Telephone & FAX Nos.,                            FOR COURT USE ONLY
State Bar No. & Email Address
Charles W Daff 76178
2107 N Broadway
Suite 308
Santa Ana, CA 92706
657-218-4800 Fax: 657-218-4858
California State Bar Number: 76178 CA
charleswdaff@gmail.com




     Debtor(s) appearing without an attorney
     Attorney for Debtor

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                  CASE NO.:
            Spectrum Medical Management Services, Inc
                                                                                  CHAPTER: 7




                                                                                                     VERIFICATION OF MASTER
                                                                                                    MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 13 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: June 6, 2023                                                                       /s/ Carla A Ethier
                                                                                         Signature of Debtor 1

Date:
                                                                                         Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: June 6, 2023                                                                       /s/ Charles W Daff
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
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                       Spectrum Medical Management Services, Inc
                       425 W Bonita Avenue, Suite 110
                       San Dimas, CA 91773


                       Charles W Daff
                       Charles W Daff
                       2107 N Broadway
                       Suite 308
                       Santa Ana, CA 92706


                       Acension Point Recovery Services
                       200 Coon Rapids Blvd., Suite 210
                       Minneapolis, MN 55433-5876


                       Alicia Rozario DPM
                       305 South Drive #6
                       Mountain View, CA 94040


                       Amber Turgeon
                       16275 Adelia St
                       Hesperia, CA 92345


                       American Express
                       Correspondence/Bankruptcy
                       PO Box 981540
                       El Paso, TX 79998


                       American Express
                       Correspondence/Bankruptcy
                       PO Box 981540
                       El Paso, TX 79998


                       American Express
                       PO Box 960001
                       Los Angeles, CA 90096
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                   American Express
                   Correspondence/Bankruptcy
                   PO Box 981540
                   El Paso, TX 79998


                   American Express
                   PO Box 960001
                   Los Angeles, CA 90096


                   American Express
                   Correspondence/Bankruptcy
                   PO Box 981540
                   El Paso, TX 79998


                   Amy Basalusalu
                   8503 MacDuff Ct
                   Stockton, CA 95209


                   Angela Rose
                   414 Don Carlos Ave
                   Stockton, CA 95210


                   Aziz Rasooli
                   16311 Ventura Blvd #1150
                   Encino, CA 91436


                   Blake Shaw MD
                   890 Eastlake Pkwy
                   Chula Vista, CA 91914


                   Blue Shield of California
                   Subscription & Membership
                   PO Box 629032
                   El Dorado Hills, CA 95762-9032
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                   California Bank & Trust
                   1900 Main Street, Suite 100
                   Irvine, CA 92614


                   California Bank & Trust
                   1900 Main Street, Suite 100
                   Irvine, CA 92614


                   Capital One
                   Attn: Bankruptcy
                   Po Box 30285
                   Salt Lake City, UT 84130


                   Capital One
                   Attn: Bankruptcy
                   Po Box 30285
                   Salt Lake City, UT 84130


                   Capital One / Spark Business
                   Attn: Bankruptcy
                   Po Box 30285
                   Salt Lake City, UT 84130


                   Capital One/ Venture
                   Attn: Bankruptcy
                   Po Box 30285
                   Salt Lake City, UT 84130


                   Card Member Service
                   PO Box 6294
                   Carol Stream, IL 60197


                   Carla A Ethier
                   15089 Indian Drive
                   Fontana, CA 92336
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                   Carol Swearingen
                   16680 Compass Circle
                   Yorba Linda, CA 92886


                   Carol Swearingen
                   16680 Compass Circle
                   Yorba Linda, CA 92886


                   Carol Swearingen
                   16680 Compass Circle
                   Yorba Linda, CA 92886


                   Chara Barksdale
                   4304 Freitag Way
                   Elk Grove, CA 95758


                   Charles Crapotta MD
                   773 Isabella Way
                   Fairfield, CA 94533


                   Chase Card Services
                   Attn: Bankruptcy
                   Po Box 15298
                   Wilmington, DE 19850


                   Chase Marriott
                   PO Box 6294
                   Carol Stream, IL 60197


                   Cheryl Lodin
                   2578 Associated Rd., Apt 3
                   Fullerton, CA 92835
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                   Christopher Otiko
                   Coast to Coast DME, Inc
                   7320 Reseda Blvd., Unit 37-1972
                   Reseda, CA 91337


                   Citibank
                   Citicorp Credit
                   Centralized BK Department
                   PO Box 70034
                   Saint Louis, MO 63179


                   Citibank
                   PO Box 6235
                   Sioux Falls, SD 57117


                   Coast to Coast DME Inc
                   1755 W Hammer Ave., Suite 2
                   Stockton, CA 95209


                   Cody M Labelle
                   2578 Associated Rd., Apt 3
                   Fullerton, CA 92835


                   Craig Roberts
                   5301 Balboa Blvd., Suite L3
                   Encino, CA 91316


                   Craig Roberts DPM
                   2678 E Florence Ave
                   Huntington Park, CA 90255


                   CSC
                   PO Box 2576
                   Springfield, IL 62708
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                   D'Wayne Baird
                   8543 Burns Place
                   Stockton, CA 95209


                   Dallas Turgeon
                   16275 Adelia St
                   Hesperia, CA 92345


                   David A Swearingen, OD
                   425 W Bonita Ave.
                   San Dimas, CA 91773


                   Debra A Alamillo
                   3902 Poli Place
                   Modesto, CA 95355


                   Dena K Agapay
                   8255 Vineyard Ave #1500F
                   Rancho Cucamonga, CA 91701


                   Dennis Grandy DPM
                   87 Scripts Dr #212
                   Sacramento, CA 95825


                   Donald Swearingen
                   9943 Orchard Dr
                   Westminster, CA 92683


                   Donald Swearingen
                   9943 Orchard Dr
                   Westminster, CA 92683
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                   Donald Swearingen
                   9943 Orchard Dr
                   Westminster, CA 92683


                   Donald Swearingen
                   9943 Orchard Dr
                   Westminster, CA 92683


                   Donnelly Accounting Inc
                   425 Bonita Ave., Suite 109
                   San Dimas, CA 91773


                   Douglas Hague DPM
                   5 Medical Plaza Dr., #110
                   Roseville, CA 95661


                   EMU Properties LLC
                   113 Main Street
                   Rio Vista, CA 94571


                   EMU Properties LLC
                   113 Main Street
                   Rio Vista, CA 94571


                   Franchise Tax Board
                   Business Entity Bankruptcy MS A345
                   PO Box 2952
                   Sacramento, CA 95812-2952


                   Fred Jackson
                   Omni Medical Management Services In
                   8145 S Vandriver Way
                   Aurora, CO 80016
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                   Glenn Kishaba
                   Physicians Services Network
                   377 East Chapman Ave
                   Placentia, CA 92870


                   Heather Horton
                   610 Manahan Ct
                   Red Bluff, CA 96080


                   Hoan Van DPM
                   100 Oconnor Dr Ste 9A
                   San Jose, CA 95128


                   Igal Palma DPM
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                   Stockton, CA 95206


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                   Centralized Insolvency Operation
                   PO Box 7346
                   Philadelphia, PA 19101-7346


                   Irma Chavarria
                   1605 S Barolo Place
                   Santa Maria, CA 93458


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                   795 E Second St., Suite 7
                   Pomona, CA 91766


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                   333 W El Camino Real, Ste 315
                   Sunnyvale, CA 94087
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                   Joanna Ortiz-Nunez
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                   Stockton, CA 95209


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                   Olivehurst, CA 95961


                   Kelvin Nguyen
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                   Monterey Park, CA 91755


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                   Stockton, CA 95204
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                   Kylle Barefoot
                   8255 Vineyard Avd., Apt 1500B
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                   Hesperia, CA 92345


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                   Fresno, CA 93792


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                   Valley Village, CA 91607


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                   520 N Main St, Ste 120
                   Santa Ana, CA 92701
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                   Maria Garcia
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                   Neal Patel DPM
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                   Nora Vasquez
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                   Modesto, CA 95354


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                   Westminster, CA 92683
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                   Lake Jackson, TX 77566


                   Seiha Thorng DPM
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                   Small Business Administration
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                   Portland, OR 97208-3918


                   Small Business Administration
                   14925 Kingsport Road
                   Fort Worth, TX 76155-2243
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                   Small Business Administration
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                   Saint Louis, MO 63179-0408


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                   Burbank, CA 91501


                   Veronica Allen
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                   El Dorado Hills, CA 95762


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                   PO Box 29482
                   Phoenix, AZ 85038
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
Charles W Daff 76178
2107 N Broadway
Suite 308
Santa Ana, CA 92706
657-218-4800 Fax: 657-218-4858
California State Bar Number: 76178 CA
charleswdaff@gmail.com




     Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                     CASE NO.:
          Spectrum Medical Management Services, Inc        ADVERSARY NO.:
                                                Debtor(s), CHAPTER: 7

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Charles W Daff 76178                                                    , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]
1.          I have personal knowledge of the matters set forth in this Statement because:
               I am the president or other officer or an authorized agent of the Debtor corporation
               I am a party to an adversary proceeding
               I am a party to a contested matter
               I am the attorney for the Debtor corporation
2.a.           The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
                class of the corporation’s(s’) equity interests:
                [For additional names, attach an addendum to this form.]
     b.        There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.

June 6, 2023                                                                              By:     /s/ Charles W Daff
Date                                                                                              Signature of Debtor, or attorney for Debtor

                                                                                          Name:         Charles W Daff 76178
                                                                                                        Printed name of Debtor, or attorney for
                                                                                                        Debtor




___________________________________________________________________________
                  This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                  F 1007-4.CORP.OWNERSHIP.STMT
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